                      Case 1:22-mj-00162-GMH Document 1 Filed 07/15/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                              District of &ROXPELD

                  United States of America                                )
                             v.                                           )
                                                                          )       Case No.
          WILLIAM HENDRY MELLORS
                                                                          )
                DOB: XXXXXX                                               )
                                                                          )
                                                                          )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021                    in the county of                                             in the
                         LQWKH'LVWULFWRI        &ROXPELD , the defendant(s) violated:

             Code Section                                                             Offense Description
       18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury,
       18 U.S.C. § 231(a)(3)- Civil Disorder,
       18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds,
       18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
       18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds,
       40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,
       40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings.



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                         Complainant’s signature

                                                                                                  Amy Avila, Special Agent
                                                                                                          Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                             Digitally signed
                                                                                          by G. Michael
Date:         07/15/2022                                                                  Harvey
                                                                                                            Judge’s signature

City and state:                         :DVKLQJWRQ'&                             G. Michael Harvey, U.S. Magistrate Judge
                                                                                                          Printed name and title
